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                                                    THE HONORABLE RICHARD A. JONES
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 4                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 5                                     AT SEATTLE
 6
     UNITED STATES OF AMERICA,                      ) No. CR18-315-RAJ
 7                                                  )
                     Plaintiff,                     )
 8                                                  ) MOTION TO SEAL PROPOSED
            v.                                      ) COURT ORDERS
 9                                                  )
     GIZACHEW WONDIE,                               )
10                                                  )
                     Defendant.                     )
11                                                  )
12          Gizachew Wondie, through counsel, respectfully moves this Court to order that
13   the proposed Court Orders (Dockets 321 and 314), filed with the Parties’ Proposed
14   Redactions to Sealed Orders (Exhibits A, B and C) be filed under seal and secured from
15   public access until further order of the Court.
16          The proposed Orders should be filed under seal because they are, at this point,
17   unsealed.
18          DATED this 14th day of December, 2021.
19                                              Respectfully submitted,
20                                              s/ Mohammad Ali Hamoudi
                                                s/ Sara Brin
21                                              Assistant Federal Public Defenders
22                                              Attorneys for Gizachew Wondie

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                                                                 FEDERAL PUBLIC DEFENDER
      MOTION TO SEAL PROPOSED COURT ORDERS                          1601 Fifth Avenue, Suite 700
      (United States v. Wondie, No. CR18-315-RAJ)                     Seattle, Washington 98101
                                                                                 (206) 553-1100
